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060 (RY A

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia

United States of America
e ) Case No.

Scott Ray Christensen )

)

)

)

Defendant

ARREST WARRANT

 

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Scott Ray Christensen : =
who is accused of an offense or violation based on the following document filed with the court:

© Superseding Indictment Ol Information © Superseding Information Wf Complaint
© Supervised Release Violation Petition Violation Notice © Order of the Court

  
  
 
 
 

 

18 US. §:1752 ML ) (Entering and Remaining in a Restricted Building or Grounds);
US.C.§. T5292) (crated Dep Conn Rese Bling or rnd)

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